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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

ISRAEL ALVARADO, et al.
            Plaintiffs,
v.                                         NO. 8:22-CV-01149-WFJ-CPT
LLOYD AUSTIN, III, et al.
            Defendants.

         PLAINTIFFS’ UNOPPOSED MOTION TO TRANSFER

      Plaintiffs move to transfer this action to the U.S. District Court for the

Eastern District of Virginia, Alexandria Division, where the Pentagon is

located, pursuant to 28 U.S.C. § 1404(a). Defendants do not oppose this Motion.

      On July 25, 2022, the Court held a hearing on Plaintiffs’ Motion for

Preliminary Injunction. See ECF 31. At the hearing, the Court appeared to

agree that venue is proper in the Middle District of Florida because two

Plaintiffs reside in the District, but the Court questioned whether venue was

proper in the Tampa Division and directed the Parties to submit briefs today

on whether transfer is appropriate. Plaintiffs respectfully submit that the

instant unopposed motion obviates the need for such briefing, but unless

directed otherwise by the Court, Plaintiffs will submit a brief today explaining

why venue is proper in the Tampa Division. In the event the Court determines

that venue is not proper in the Tampa Division, Plaintiffs alternatively seek

transfer under 28 U.S.C. § 1406(a).



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                                 ARGUMENT

I.    THIS CASE SHOULD BE TRANSFERRED TO THE EASTERN
      DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION.

      Transfer is warranted under 28 U.S.C. § 1404(a), which provides that

“[f]or the convenience of the parties and witnesses, in the interest of justice, a

district court may transfer any civil action to any other district or division

where it might have been brought.” “The purpose of § 1404(a) is to ‘prevent the

waste of time, energy and money and to protect litigants, witnesses and the

public against unnecessary inconvenience and expense.’” Brigade Holdings,

Inc. v. Aegis Business Credit, LLC, 2021 WL 3788952, at *1 (M.D. Fla. Aug. 26,

2021) (quoting Van Dusen v. Barrack, 376 U.S. 612, 616 (1964)). The decision

to transfer a case under Section 1404(a) rests within the Court’s sound

discretion, see Ross v. Buckeye Cellulose Corp., 980 F.2d 648, 654-55 (11th Cir.

1993) (reviewing district court’s transfer of venue for abuse of discretion).

      “Cases may be transferred under § 1404(a) where the court finds transfer

serves the interest of justice based on established public and private factors.”

Brigade Holdings, Inc., 2021 WL 3788952, at *2. “Section 1404(a) also requires

the alternative venue to be proper.” Id. at *2 n.1. Because this action could

have been brought in the Eastern District of Virginia, and the balance of

convenience factors weighs in favor of transfer, the Court should transfer this

action.




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      A.    This Action Could Have Been Brought in the Eastern
            District of Virginia.

      The Eastern District of Virginia is a proper venue under 28 U.S.C.

§ 1391(e)(1). First, a majority of Defendants, and all of the Military

Defendants—the Secretary of the Department of Defense (“DOD”), and the

Secretaries of the Air Force, Army and Navy (the “Service Secretaries”)—reside

in the Eastern District of Virginia, where they perform their official duties.

See, e.g., Lamont v. Haig, 590 F.2d 1124, 1128 n.19 (D.C. Cir. 1978) (explaining

that residence under 1391(e) refers to “the official residence of the federal

defendants where duties are performed”); Bartman v. Cheney, 827 F.Supp. 1,

2 (D.D.C. 1993) (holding that the Secretary of Defense can be sued in his official

capacity under 28 U.S.C. 1391(e) in the Eastern District of Virginia); Webster

v. Mattis, 279 F.Supp.2d 14, 19 (D.D.C. 2017) (same); Smith v. Dalton, 927

F.Supp. 1, 5-6 (D.D.C. 1996) (same for Secretary of Navy); Jyachosky v. Winter,

2006 WL 1805607, at *4 (D.D.C. June 29, 2006) (same); Dehaemers v. Wynne,

522 F.Supp.2d 240, 248 (2007) (same for Secretary of the Air Force); Saran v.

Harvey, 2005 WL 1106347, at *2 (D.D.C. May 9, 2005) (same for Secretary of

the Army). Venue is proper in a District so long as at least one federal

Defendant resides in that district. See 28 U.S.C. § 1391(e)(1)(A) (venue proper

where “a defendant in the action resides”).




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      Second, “a substantial part of the events or omissions giving rise to the

claim occurred,” 28 U.S.C. 1391(e)(1)(B), in the Eastern District of Virginia.

Plaintiffs challenge Defendants generally applicable regulations, directives,

and policies, in particular, Secretary of Defense Austin’s August 24, 2021

vaccine mandate (“DOD Mandate”), the DOD’s directive not to grant any

religious accommodation requests (“No Accommodation Policy”); and the

regulations, directives and policies issued by the Service Secretaries to

implement Secretary Austin’s directives. All of these orders and directives

were developed, issued and executed by Secretary Austin and the Service

Secretaries, and other senior Pentagon officials, as part of their official duties

and therefore occurred in the Eastern District of Virginia.

      Moreover, the alleged constitutional injuries to at least one Plaintiff,

Navy Chaplain Lieutenant Nathanael Gentilhomme, occurred at his duty

station, the Marine Corps Air Facility in Quantico, Prince William County,

Virginia, in the Alexandria Division.       Specifically, the following events

occurred in Quantico, Virginia: (1) his RAR appeal was denied so that his

Religious   Freedom    Restoration    Act   and   Free    Exercise   claims   are

unquestionably ripe; and (2) he was removed from the RAR process, removed

from his chaplain position, and suffered other retaliatory acts that constitute

acts in violation of Section 533, the Free Exercise Clause, Establishment

Clause, the No Religious Test Clause


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      B.    The Balance of Convenience Factors and the Interests of
            Justice Weigh in Favor of Transfer.

      The   private     factors   that   courts   consider   in   evaluating   the

appropriateness of the transferee forum include: “relative ease of access to

sources of proof; availability of compulsory process for attendance of unwilling,

and the cost of obtaining attendance of willing, witnesses; … and all other

practical problems that make trial of a case easy, expeditious and inexpensive.”

Brigade Holdings, Inc., 2021 WL 3788952, at *2 (citations omitted).

      Because Plaintiffs challenge generally applicable directives, orders and

policies issued by the Secretary of Defense and the Service Secretaries, all of

whom reside and perform their official duties in the Eastern District of

Virginia, the relevant evidence will most easily be accessed in that District.

Moreover, the Eastern District of Virginia is most convenient for all

Defendants, including the other Defendants that reside just across the

Potomac River in Washington, DC, for discovery, depositions, and trial, and

there is no question as to the authority of courts in that District to compel

testimony from unwilling witnesses. Further, all Plaintiffs’ records are stored,

maintained and/or accessible at the Pentagon or other DOD or Armed Services

facilities in that District. Finally, the Eastern District of Virginia is more

convenient for Defendants’ counsel all of whom are based in this District or the

District of Columbia.




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      The Eastern District of Virginia is also more convenient for Plaintiffs.

Lead Counsel, Arthur Schulcz is admitted to the Eastern District of Virginia,

and is a resident there, while co-counsel Brandon Johnson resides next door in

Washington, DC, and Defending the Republic has an office in Alexandria,

Virginia. Further, as noted above, Plaintiff Gentilhomme is stationed at

Marine Corps Air Facility in Quantico, Prince William County, Virginia, in the

Alexandria Division. Also, as noted above, at least one Plaintiff whose claims

are ripe and who has standing to bring all Plaintiff claims, is stationed in the

Alexandria Division of the District.

      Courts also consider “public interest” factors favoring transfer, such as

congestion in the local courts, the interest in having local matters resolved by

local courts, see Brigade Holdings Inc., 2021 WL 3788952, at *2 (citation

omitted), and the relative expertise of the transferor and transferee courts.

These factors are largely neutral or unknown, as Plaintiffs are not aware of

the relative congestion of these courts, and Plaintiffs reside or are stationed in

each District. Courts in both Districts are certainly competent to address

claims like Plaintiffs’. There are several related cases in the Middle District of

Florida. While, to the best of Plaintiffs’ knowledge, there are no related actions

in the Eastern District of Virginia, the courts in the Eastern District of Virginia

certainly see a higher volume of cases in which the DOD and the Armed




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Services are defendants, and courts have cited this as a factor favoring transfer

to that District. See, e.g., Webster, 279 F.Supp.3d at 19.

II.   CONCLUSION

      For the foregoing reasons, the Court should grant Plaintiffs’ unopposed

Motion to Transfer this case to the Eastern District of Virginia, Alexandria

Division, and excuse the Parties from submitting the venue briefing due today.

Dated: July 27, 2022                        Respectfully submitted,

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                  LOCAL RULE 3.01(g) CERTIFICATION

      I HEREBY CERTIFY that on July 26 and 27, 2022, I conferred with

Defendants’ counsel, and that Defendants do not oppose this Motion.

                                            /s/ Brandon Johnson
                                            Brandon Johnson


                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 27th day of July, 2022, I electronically

filed the foregoing Plaintiffs’ Unopposed Motion for Transfer, which will

generate a Notice of Electronic Filing to all parties of record.

                                            /s/ Brandon Johnson
                                            Brandon Johnson




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